Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 1 of 23. PageID #: 351381




                     EXHIBIT 55
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 2 of 23. PageID #: 351382
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 3 of 23. PageID #: 351383
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 4 of 23. PageID #: 351384
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 5 of 23. PageID #: 351385
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 6 of 23. PageID #: 351386
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 7 of 23. PageID #: 351387
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 8 of 23. PageID #: 351388
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 9 of 23. PageID #: 351389
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 10 of 23. PageID #: 351390
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 11 of 23. PageID #: 351391
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 12 of 23. PageID #: 351392
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 13 of 23. PageID #: 351393
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 14 of 23. PageID #: 351394
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 15 of 23. PageID #: 351395
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 16 of 23. PageID #: 351396
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 17 of 23. PageID #: 351397
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 18 of 23. PageID #: 351398
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 19 of 23. PageID #: 351399
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 20 of 23. PageID #: 351400
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 21 of 23. PageID #: 351401
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 22 of 23. PageID #: 351402
Case: 1:17-md-02804-DAP Doc #: 2251-55 Filed: 08/13/19 23 of 23. PageID #: 351403
